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                                                           May 12, 2021

           VIA EMAIL
           The Honorable J. Paul Oetken                                                   21 MC 425
           United States District Judge
           Southern District of New York                                      --------------------------------------
                                                                              CONFIDENTIAL AND FILED
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           40 Foley Square
           New York, New York 10007

                   Re:         hire Search Wairnnt dated April 21, 2021, 21 Mag. 4335
                               fu re Search Wairnnt dated November 4, 2019, 19 Mag. 10364

           Dear Judge Oetken:

                   Counsel for Rudolph Giuliani ("Giuliani") is responding to the Government's request for
           the appointment of a Special Master to conduct the filter review of potentially privileged materials
           seized pursuant to the above-captioned waiTants.

                We initially raise our serious concern over the broad and sweeping nature of the searches
           executed on an attorney's home and law office, and the cove1i seai·ch and review of the same
           attorney's iCloud account in 2019, and then, the failure to give notice to Giuliani and his clients,
           and withholding infonnation about that search for 18 months. During that period the government
           unilaterally reviewed all the info1mation, privileged and not, and ma.de entirely uninfo1med
           decisions about privilege (without any input from the clients or their counsel). This was during a
           period when the President was under investigation by that ve1y office and the Justice Depaiilllent
           of which they are an integral paii.

                 Before any fmiher review (including by a Special Master) and any fmiher damage is done
           to the public's confidence in the confidentiality of their communications with counsel, the issue of
           the constitutionality and legality of the government's conduct to this point in the investigation
           must be resolved.

              The validity of the 2019 covert wairnnt, and the handling of the info1mation obtained by the
           prosecutor are serious questions that must be resolved before any further damage is done.


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Moreover, the fruits of that 2019 search were certainly used in some part to secure the 2021 largely
duplicative search warrant and subsequent seizures. It is for those reasons that it is premature to
consider a special master before these critical issues are resolved.

        In April 2018, the Government was in this exact same position it is in now in dealing with
seizures made from the personal attorney to the President. This is now the second dawn raid of the
office and home of an attorney for then President Trump. A year before they searched Giuliani’s
iCloud account in November 2019, they were dealing with the raid of Michael Cohen’s home and
law office. In Cohen v. United States, 18-mj-3161 (KMW), after conducting a search of President
Trump’s personal lawyer’s home and law office, the Government opposed the appointment of a
Special Master in a letter to the Court dated April 18, 2018. Counsel for Michael Cohen and
intervening counsel for President Trump both requested that a Special Master be appointed and
that the Special Master review the evidence, but only after counsel for the respective parties had
reviewed the evidence and made their own claims of privilege. On the day of a scheduled
conference to decide the issue, the Government, in a letter to Judge Wood, withdrew their
opposition to the Special Master, but requested that the Special Master, and not defense counsel,
review all the evidence and make the initial determinations of privilege. Judge Wood adopted the
compromise and appointed a Special Master to review all materials. One of the Government’s
counsel that signed that letter is counsel on this matter as well.

        As a result, the Government was well aware that it had agreed to a Special Master in a case
involving claims of attorney-client and executive privilege regarding the search and seizure of an
attorney’s home and office when that attorney was the personal attorney for the President of the
United States. Here, when faced with the exact same situation in November 2019, the Government
decided on its own, to use its own Taint Team to sift through all of the evidence gathered and
decide what materials were privileged. To make matters worse, not only was Giuliani not informed
about this practice, but the Government also continued to keep him, the President and his counsel
in the dark for 18 months while Giuliani cooperated with another office of the United States
Attorney. Based on its experience in the Cohen case, the Government knew better, or should have
known better, that it should not make unilateral, uninformed secret decisions about privilege, but
clearly threw caution to the wind in its attempt in this investigation in search of a crime.

       Accordingly, we ask the Court to consider the following:

            1.   We request that the Court unseal the affidavits in support of the search warrant
                 issued by this Court on November 4, 2019 for the iCloud account of Giuliani, as
                 well as the affidavits in support of the warrants issued on April 21, 2021 for
                 Giuliani’s home and law office. Review of those affidavits is necessary in order for
                 counsel to make informed decisions about bringing a motion to suppress and
                 return all of the material seized in 2019 from the iCloud account of this attorney as
                 well as the material subsequently seized in the more recent search warrants
                 executed on April 28, 2021.



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            2.   In addition, in the original warrant for the iCloud account, there is a non-
                 disclosure order based upon an allegation made to the issuing Court, that if Giuliani
                 were informed of the existence of the warrant, he might destroy evidence
                 or intimidate witnesses. Such an allegation, on its face, strains credulity. It is not
                 only false, but extremely damaging to Giuliani’s reputation. It is not supported by
                 any credible facts and is contradicted by Giuliani’s efforts to provide information
                 to the Government. We should be allowed to question the Government as to what
                 basis it had, if any, to make that assertion. Accordingly, we request
                 the information that was presented in the iCloud warrant to justify the Non-
                 Notification Order pursuant to 18 U.S.C. Section 2705 (b) that “there is reason to
                 believe that notification of the existence of this warrant will result in destruction of
                 or tampering with evidence, and/or tamping (sic) with potential witnesses, or
                 otherwise will seriously jeopardize an ongoing investigation.” We also request
                 access to the application for any extension of the non-disclosure provision
                 which originally lasted for a year.

            3.   We request that this Court grant access to the material gathered in 2019, which was
                 reviewed by the Government’s secret “Taint Team” and determined by them,
                 without judicial supervision, to be non-privileged, responsive and relevant. After
                 our review, we expect to be able to expand our argument that this unilateral, secret
                 review was illegal and should be deterred in the future by suppression of any
                 evidence considered, and also any information obtained as fruit of this poisoned
                 tree.


                                  PRELIMINARY STATEMENT

       This application is the result of the recent search of the President’s personal attorney’s home
and law office and the seizure of electronic devices and information contained therein during the
time period                                                , as well as an earlier covert warrant in
November 2019 for Giuliani’s iCloud account for the period
      This is the second time this prosecutor’s office has conducted a search of the office and
home of an attorney for President Trump. The search of an attorney’s office should be done rarely
and only under extraordinary circumstances. Otherwise, such high profile and heavily publicized
searches such as those of President Trump’s attorneys will just continue to erode and finally
extinguish citizen reliance that communications for legal advice are really seriously protected.

        As a result of these search warrants, the Government is now in possession of Giuliani’s
electronically stored information (“ESI”) from                                      During this
period, as the Government was aware, Giuliani was acting as the President’s attorney, as well as
representing others, some of whom were being investigated by the Southern District of New York
(“SDNY”). Giuliani is a well-known lawyer in New York and nationally. Giuliani is a former
Assistant United States Attorney in the SDNY; a former Associate Attorney General of the United


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States; the United States Attorney for the SDNY and the Mayor of the City of New
York. Furthermore, during the time under search, Giuliani was the attorney for the President of
the United States.

        These seizures were not only unnecessary but also constituted a monumental, and heavily
publicized, breach of the attorney-client privilege, the Executive privilege, and the guidelines in
the United States Attorney’s Manual which attempts to protect the viability of the attorney-client
privilege. It was premature and unwarranted for the Government to seize Giuliani’s ESI because
Giuliani had already cooperated with the U S State Department (“State”) through Mike Pompeo,
the Secretary of State, in March 2019 concerning Ukraine. He also cooperated again in July and
August of 2019 at the request of the State Department in assisting them with regard to Ukraine. In
fact, there has never been an occasion where Mr. Giuliani has refused to cooperate with, or give
assistance, to his government. This was as true during the Clinton administration as it was during
the Bush administration.

         As early as November 4, 2019 (ironically the day the SDNY sought the covert warrant of
Giuliani’s iCloud account) counsel informed the SDNY that Giuliani would answer any questions
(without restrictions), except for privileged matters, as long as Giuliani’s counsel was informed
of the subject matter to be discussed. However, the SDNY refused to tell Giuliani’s counsel any of
the subjects of concern. Assuming that the objective was a search for the truth, rather than simply
to trash a well-respected attorney’s reputation particularly as an attorney for President Trump, the
SDNY could have accepted the offer and just repeated what had already been leaked to the media
by “sources close to the investigation.”

       If the SDNY was leery of that for unknown reason, or they were concerned that evidence
would disappear or be altered or witnesses intimidated, they could have, and indeed should
have, given counsel a subpoena duces tecum for the materials they subsequently felt the need to
seize a year and a half later.

        Unfortunately for Giuliani, and even more unfortunately for the attorney-client privilege
and executive deliberation privilege, and the public’s perception that those privileges are real, the
SDNY simply chose to treat a distinguished lawyer as if he was the head of a drug cartel or a
terrorist, in order to create maximum prejudicial coverage of both Giuliani, and his most well-
known client – the former President of the United States.


                                   STATEMENT OF FACTS

       On Wednesday, April 28, 2021 at 6:30 a.m., agents of the Federal Bureau of Investigation
(“FBI”) simultaneously executed search warrants at the home and law office of former Mayor
Rudy Giuliani. The search warrants called for the agents to seize “all electronic devices.” The
search was carried out without incident, except that the agents at Giuliani’s apartment declined to
take two external hard drives which both Giuliani and his counsel represented to be copies of


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Hunter Biden’s hard drive. The declination to seize those external hard drives without
inspection came despite that the warrant called for the seizure of all electronic devices. The only
basis for the agents to conclude that those external hard drives contained only Hunter Biden’s hard
drive was the word of Rudolph Giuliani, the same person the Government alleged might tamper
with or destroy evidence and intimidate witnesses.

        Two days after that search, representatives of the U.S. Attorney’s office, (hereinafter
“SDNY” or “Government”) informed Giuliani’s counsel, for the first time, that a year and a half
earlier, on November 4, 2019, the SDNY secured a “covert warrant” (their term), to search
Giuliani’s iCloud account. The search of the iCloud account was limited to the time
between
       Not coincidentally, the time period covered by this warrant commences when Mayor
Giuliani began to represent President Donald J. Trump.

        Following the November 2020 Presidential election, after having afforded themselves a
year and a half to analyze in secret the sensitive information from the iCloud account, the
Government sought the Justice Department’s permission to retrieve Giuliani’s electronic devices.
It was largely a “do-over’ because it to covered virtually the same period covered by their covert,
illegally conducted and maintained invasion of Giuliani’s iCloud account without any notice for
that year and a half. That request was DENIED. Undeterred, in January 2021, the SDNY went
back to the Department of Justice seeking permission to obtain a search warrant for Mayor
Giuliani’s electronic devices. That request was also DENIED.

        After two failed attempts, the SDNY learned its lesson. Now, they waited until the Biden
Administration was in office and more particularly, senior members of the Justice Department had
been removed and replaced by Biden appointees. The SDNY went back to the Department of
Justice for its third attempt to seek permission to seek their “do-over” application for a search
warrant and this time they were apparently successful, for they then approached this
Court seeking warrants to search Mayor Giuliani’s apartment and law office. It is unknown if the
Government informed the Court of Giuliani’s cooperation with the State Department or his offers
to cooperate with the SDNY or his actual cooperation with the Western District of Pennsylvania.

       It is unknown what additional claims, if any, the SDNY may have made in its third
attempt to secure permission from the Department of Justice. It is also unknown whether the
SDNY informed this Court of the two previous denials by the Department of Justice. Also
important is the very salient fact that the two failed efforts to search Mayor Giuliani’s electronic
devices were widely reported in the media at the time. Despite these two warnings that the SDNY
was seeking permission to apply for a search warrant for his electronic devices and because he
had no guilty conscience, Giuliani took no steps to destroy evidence or wipe the electronic devices
clean. Since Giuliani was not under subpoena, he had no legal obligation to preserve that
evidence, but he did so because he is an innocent man who did nothing wrong.




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        As a reminder, this same attorney had cooperated with the State Department and offered,
for a year and a half, to answer any questions from the SDNY about any subject or crime, with no
limitations except for privileged matters. During that same time period, Giuliani did in fact
cooperate with Main Justice, through their designee in Pittsburgh on the subject of the Ukraine.
Amazingly, the SDNY continually turned down the offer by stating that while they would be
happy to hear anything Mayor Giuliani’s counsel had to say, they refused to identify the subject,
although those subjects were disclosed to the media. There was no downside risk to the SDNY,
but apparently, they were not interested in quickly getting to the truth of whatever situation was
confusing or motivating them. Meanwhile, Mayor Giuliani’s character and reputation was being
attacked in the media by repeated leaks from “sources close to the investigation.” Giuliani’s offer
to cooperate with the SDNY and give them anything they asked for was so open and notorious that
Giuliani’s counsel made a statement saying exactly that on national television on November 25,
2019. (“All the SDNY had to do was ask us and we would have given them whatever they
wanted…”)(Exhibit 1 attached).

       Indeed, throughout this entire time period, Giuliani has been nothing but cooperative with
the Government. Giuliani cooperated about matters involving the Ukraine, initially with the State
Department in March of 2019 by delivering information and documents on the Ukraine directly to
Secretary of State Mike Pompeo. Later, in January of 2020, Giuliani cooperated on Ukrainian
matters directly with Main Justice’s designee, the United States Attorney and the Special Agent in
Charge (“SAIC”) of the FBI for the Western District of Pennsylvania, located in Pittsburgh.

       The SDNY likely knew, but may not have informed the Court, that Giuliani had cooperated
with the State Department in March of 2019 concerning the Ukraine and that in January 2020,
counsel for Giuliani contacted high officials in the Justice Department, to inform them that Giuliani
wanted to provide evidence for their consideration about the Ukraine. Within a day, the United
States Attorney for the Western District of Pennsylvania, Scott W. Brady, contacted Giuliani’s
counsel and offered to hold a meeting in Pittsburgh with both the United States Attorney’s office
personnel and the FBI. Mayor Giuliani immediately accepted, and a meeting was scheduled for
January 29, 2020.

        On January 29, 2020, Mayor Giuliani and his counsel, flew to Pittsburgh at their own
cost, where they were met by agents of the FBI and transported to FBI headquarters in
Pittsburgh. Present at that meeting were the United States Attorney, the First Assistant United
States Attorney, the Chief of the Criminal Division, and two additional Assistant United States
Attorneys (“AUSA’s”) from the Western District of Pennsylvania. The FBI was represented by the
Special Agent in Charge (“SAIC”) of the Pittsburgh FBI, the Assistant Special Agent in Charge
(“ASAIC”), and three other special agents of the FBI.

        Prior to the meeting, Giuliani’s counsel had provided the Pittsburgh United States
Attorney’s office with documents and an extensive outline of the subject matter to be discussed,
so that the Government could be fully informed and prepared to ask probing questions. Giuliani
began the meeting by making a presentation with handouts. During his presentation, and at the end


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of it, the Mayor and his counsel answered every question they were asked, to the apparent
satisfaction of all of the Government officials in the room. In addition to the presentation, Giuliani
provided the Government with the names and addresses of individual witnesses, both in the United
States and in Ukraine, that could corroborate and amplify the information that the Mayor was
providing. Subsequent to that meeting, and covering a period of months, counsel
for Giuliani received a number of inquiries, discussions and requests from the First Assistant
United States Attorney. All requests were granted and all inquiries were answered. At no point
did Mayor Giuliani or his counsel refuse any request that was made. This of course, was all done
without any knowledge that the Justice Department had secretly been monitoring Giuliani’s iCloud
account. In light of that extensive history of full actual cooperation and repeated offers to do the
same for the SDNY, the allegation that he would destroy documents is absurd.

        Prior to Giuliani’s cooperation with the Pittsburgh US Attorney, Giuliani’s counsel was in
contact with the Public Corruption Unit of the SDNY with regard to other matters. Giuliani’s
counsel interacted with the same AUSA’s that are now involved on the Giuliani matter. Not once,
during this two-year period, was Giuliani’s counsel asked a single question concerning the Mayor;
not once was Giuliani’s counsel given a subpoena for the Mayor or anyone working with, or for,
the Mayor. Nevertheless, on March 2, 2021, while discussing another client’s case, the Mayor’s
counsel wrote to AUSA Nicolas Roos on Giuliani’s behalf, again offering to answer any questions
the Government might have about any subject, crime, past crime, attempted crime or conspiracy.
All that counsel requested was for the US Attorney to identify the subject matter. That request was
met, exactly like prior requests, with the refrain that the office would be willing to listen to
anything counsel had to say but would not identify the subject matter. Again, all of this took place
without Mayor Giuliani or his counsel having any idea that a year and a half prior,
the Giuliani iCloud was the subject of a warrant. Giuliani and his counsel were both aware,
because of the prominent leaks to the media, of the failed attempts in November of 2020 and again
in January of 2021, to gain the required Justice Department permission to search a lawyer’s office
and residence. If Giuliani was inclined, there was ample notice and time to destroy evidence.
Instead, Giuliani continued to offer cooperation.

        Given that the United States Attorney’s Manual requires that the Government seek the least
intrusive way to obtain evidence from a lawyer, it is simply inexplicable why the US Attorney’s
office did not either accept the cooperation offered to the Government and materials provided to
the Western District of Pennsylvania, or issue a subpoena duces tecum for the same material
sought in the subsequent search warrants. Instead of taking the ethical and responsible path to
ensure the preservation of the attorney-client privilege and the executive privilege, the
Government chose the most injurious route. We are now faced with a situation in which, over a
year and a half ago, a one-sided “Taint Team” already reviewed attorney-client privileged
materials and possibly executive privilege materials, with no oversight by the judicial branch, and
has turned over certain unknown materials to the “Case team.”

      Having already had their “Taint Team” review 95% of the seized material and their “Case
Team” review an undisclosed percentage of the material in secret


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                                                 ARGUMENT

    A. Limited Unsealing of Affidavits

        We seek limited unsealing to the extent of disclosure to Giuliani of the affidavits
supporting both the November 4, 2019 covert warrant to search Giuliani’s iCloud account, as well
as the April 21, 2021 warrants to search Giuliani’s home and law office.

        The decision to seal a search warrant affidavit, in the first instance, lies within the
discretion of the court. See In re Newsday, Inc., 895 F.2d 74, 79 (2d Cir.), cert. denied, 498 U.S.
892 (1990); Matter of Searches of Semtex Indus. Corp., 876 F. Supp. 426, 429 (E.D.N.Y. 1995).
The court, however, is obligated to entertain pre-indictment requests for access to sealed warrant
documents. See Newsday, 895 F.2d at 79; Semtex, 876 F. Supp. at 429. In Search Warrant
Executed Feb. 1, 1995, No. M 18-65 (RJW), 1995 WL 406276, at *3 (S.D.N.Y. July 7,
1995). Such requests for access may be made by the subject of the warrant, the press,
and other third parties. Courts have considered arguments under the First Amendment,
common law 1, and Rules 41(e) and (g), Fed. R. Crim. P., to unseal warrant applications “during
the pre-indictment stage of an ongoing criminal investigation.” See In Search Warrant Executed
Feb. 1, 1995, No. M 18-65 (RJW), 1995 WL 406276, at *3 (S.D.N.Y. July 7, 1995).

       Once a request for access to inspect sealed documents is made, that request must be heard
by the Court. See Newsday, supra. Matter of Searches of Semtex Indus. Corp., 876 F. Supp. 426,
429 (E.D.N.Y. 1995). While a court may deny access when sealing is “narrowly tailored to
preserve higher values,” the reasons supporting a court's denial should be set forth with specificity
to permit appellate review. Id.

        Courts have recognized that if a Grand Jury fails to indict an individual within a reasonable
period of time, courts should unseal search warrant applications. See Semtex, 876 F. Supp. at
429. As the Semtex court has noted, “disclosure should not be postponed indefinitely.” Id.
Moreover, a court should consider whether any concerns – which support maintaining such
documents under seal – could be allayed by redactions, without the need to deny access to the
affidavits in their entirety.

       Addressing the right of access to sealed warrant documents, the Second Circuit affirmed
an order of the United States District Court for the Eastern District of New York releasing a
redacted copy of a search warrant affidavit. See Newsday, 895 F.2d at 74. At minimum, the
prosecutor should be required to demonstrate that there exists a continuing need to maintain the
warrant applications under seal. See In Search Warrant Executed Feb. 1, 1995, No. M 18-65
(RJW), 1995 WL 406276, at *3 (S.D.N.Y. July 7, 1995). Under the circumstances of the publicity
the government has allowed to be generated by doing nothing about the continuous leaking, it
would be hypocritical for the government to make such an argument. If they do make such an
1
  The Supreme Court has articulated a qualified right of access to judicial documents that is born from the common
law. Nixon v. Warner Communications, Inc., 435 U.S. 589, 597-99 (1978).


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argument, providing access with a non-disclosure order from the court would cover any real
problem.

        Giuliani is the subject of these warrants. One who challenges a search warrant has a Fourth
Amendment right to access search warrant application materials. United States v. Pirk, 282 F.
Supp. 3d 585, 592 (W.D.N.Y. 2017). Giuliani should be granted access to the sealed affidavits
supporting the warrant filed in 2019. More than 18 months have elapsed during which Giuliani
was denied knowledge of the existence of this warrant and the seizure of his property. With respect
to the warrant for the seizure of documents of the attorney to a sitting President, the prosecutors
surely put the cart before the horse. They chose to bypass a Special Master to review what they
knew would contain privileged material, and chose, instead, to move forward with a Taint Team
(comprised of federal prosecutors who have already disclosed material to the Case Team), without
affording Giuliani, the President, or any of Giuliani’s other clients an opportunity to assert
privileges. Moreover, they have actively engaged with Giuliani without disclosing the existence
of this warrant. During all this time, no indictment has issued. Without a doubt, Giuliani is surely
entitled to the affidavits underlying the warrant at this juncture.

        Another reason Giuliani should be entitled to review the Government’s application is the
possibility that information seized in secret and kept secret from Giuliani for a year and a half was
leaked to the House Impeachment Committee. On or about December 3, 2019 Representative
Adam Schiff, whose counsel was a former member of the Public Corruption Unit of the SDNY,
revealed detailed phone records of Giuliani including calls to the White House. (The article is in
The Hill entitled “Phone Records Detail Extent Of Giuliani, White House Contacts.” [Brett
Samuels &Morgan Chalfant, Dec. 3, 2019]). The article attempts to create suspicion by describing
“frequent contact between President Trump’s personal attorney and the Office of Management and
Budget…” It puts emphasis on a 14 minute conversation with the Office of Management and texts
exchanged with an “unspecified” White House number. It is very possible that many of these calls
and texts were between Giuliani and his son Andrew, who worked in the White House on entirely
unrelated subjects.

          More importantly is how did Representative Schiff get these rather extensive phone call
and text messages of Giuliani who never received notice of any Congressional subpoena. There
has never been an explanation as to the source of Schiff’s records.

        Likewise, Giuliani’s request to inspect the affidavits underlying the warrants to seize
electronic devices and the information contained therein from Mr. Giuliani’s home and
office executed April 28, 2021, should also be granted unless the Government demonstrates that
there is some particular need for secrecy that overrides Giuliani’s Fourth Amendment rights as the
subject of the warrants to know what information is relied upon for these intrusions.

        Giuliani’s right to inspect the sealed affidavits is also predicated on his right as the subject
of the warrant under Rule 41(g) to seek the return of the seized property. Rule 41(e) and
(g) provide for pre-indictment adjudication of the legality of a seizure. Matter of Searches of



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Semtex at 431; See Roberts v. United States, 656 F. Supp. 929 (S.D.N.Y.1987), reversed on other
grounds, 852 F.2d 571 (2d Cir.1988), cert. denied, 488 U.S. 993, 109 S. Ct. 556, 102 L.Ed.2d 583
(1988) (stating that the rule says nothing about prudential considerations or irreparable harm); see
also Application of First United Financial Corp., 620 F. Supp. 1450 (E.D.N.Y.1985). Pursuant to
this approach, if a court finds that the seizure is violative of Fourth Amendment protections, “the
evidence must be returned and suppressed.” Roberts, supra at 932.

       The privilege issues related to the seizure of the electronic information of an attorney to
the President weigh strongly in favor of adjudicating the legality of these seizures at this
stage. Accordingly, unless the Government can demonstrate a need for secrecy, about a case that
has been continuously leaked to the media, these affidavits should be disclosed to Mr. Giuliani as
soon as possible.

   B. The Use of A Filter Team to Review the 2019 Search Warrant Materials Was
      Improper.

        We object to the Government’s seizure of privileged material in response to search warrants
executed in April 2021 and November 2019. In their letter dated April 29, 2021, the Government
wrote to request that the Court appoint a Special Master to conduct a filter review of potentially
privileged materials seized on April 28, 2021. According to the Government, the review of these
materials may encompass “unusually sensitive privilege issues.” See, 4/29/21 Ltr. We agree. Here,
the Government has executed unprecedented search warrants on the personal attorney to the former
President of the United States. The Government draws current parallels to the privilege issues
dealt with by Judge Wood in In re the Matter of Search Warrants Executed on April 9, 2018, No.
18 MJ 3161 (S.D.N.Y. Apr. 16, 2018), which also involved a warrant executed on the offices of
President Trump’s former personal lawyer – Michael Cohen. However, the timeliness of
Government’s request for a Special Master to oversee the filter of the recently seized privileged
matters is concerning, considering the materials the Government already seized from Apple, Inc.
– and reviewed - pursuant to a search warrant executed in November 2019 (the “2019 Search
Warrant”). The 2019 Search Warrant called for the seizure of nearly identical information as was
seized on April 28, 2021. However, unlike the recent search warrants, which were executed
overtly, the 2019 Search Warrant was executed covertly, which eliminated Giuliani’s ability to
challenge the manner the responsive material was reviewed.

        In 2019, the Government seized contents of Giuliani’s iCloud account and associated data.
They were aware that this seizure contained the very same “unusually sensitive privilege issues”
as the material seized on April 28, 2021. Yet, unlike in this instance, they failed to notify the Court
to request a Special Master be appointed to conduct a review of the privileged materials. Instead,
knowing the procedures previously instituted by Judge Wood in a nearly identical scenario,
prosecutors within the Southern District of New York conducted the search entirely by themselves.
This is highly objectionable. Considering the sensitive privilege issues at stake, we are requesting
that the Court order the Government to immediately provide a copy of the entire search warrant
return provided by Apple, Inc., in response to the 2019 Search Warrant, as well as a copy of the


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materials their “filter” team deemed non-privileged and responsive and relevant to the search
warrant.

         We object to any further review of the contents of the Giuliani’s iCloud account or recently
seized electronic devices by law enforcement. In addition, we certainly object to the use of a “taint”
or “filter” team in connection with any review of the recently seized documents, electronic devices,
or other evidence collected in this case. We request that we be allowed to make privilege
determinations in the first instance in connection with any evidence collected by the Government.
This is the only safe way to protect all applicable privileges and to prevent exposure to privileged
material that may require intervention and remedy by the Court.

         As the Court is certainly aware, there is a growing debate within this politically charged
climate regarding whether investigations by different branches of the Government are being
undertaken impartially. Moreover, in the Fall of 2019, during an intense debate over the
impeachment and the campaign for the upcoming Presidential Election, with Giuliani publicly
acting as President Trump’s personal attorney, the Government decided to take the unprecedented
step of seeking a search warrant for Giuliani’s iCloud account. In these circumstances, on the heels
of the precautions instilled by Judge Wood in a nearly identical situation, the use of a one-sided
“filter” team was highly inappropriate and inadequate to identify privileged materials and thereby
protect Giuliani and his clients ’attorney-client privilege, and highly indicative of the appearance
of impropriety. Had this been done overtly, or through the Government’s less onerous subpoena
powers, we would have requested that a Special Master to be appointed at the time. Instead, the
Government has had these private, confidential, and privileged materials in their possession for
over eighteen months, and established a Taint Team who acted as prosecutor, defense lawyer,
Special Master and Judge entirely in secret, knowing full well this contravened the protocol
established in the Cohen case.

        In general, “filter” teams raise serious ethical and legal concerns. See In re Search Warrant
Issued June 13, 2019, 942 F.3d at 164, 174-75 (stating that use of “filter” team “contravenes
foundational principles that protect attorney-client relationships,” and noting Sixth Amendment
concerns in that infringement); In re Grand Jury Subpoenas, 454 F.3d 511, 523 (6th Cir. 2006)
(pointing to history of “filter” team errors to show the “obvious flaw in the taint team procedure:
the government’s fox is left in charge of the [subject’s] henhouse, and may err by neglect or malice,
as well as by honest differences of opinion”); United States v. Castro, 2020 WL 241112, at *2
(E.D. Mich. Jan. 16, 2020) (“It is . . . logical to suppose that taint teams pose a serious risk to
holders of privilege[,] and this supposition is substantiated by past experience.”); United States v.
Stewart, 2002 WL 1300059, at *8 (S.D.N.Y. June 11, 2002) (noting that it is “important that the
procedure adopted . . . not only be fair but also appear to be fair,” contrary to appearance created
by use of “filter” team).

       These concerns are even greater where, as here, the materials in question are the files of an
attorney and may include materials pertaining to clients unrelated to the alleged conduct, including
the former President of the United States. See In re Search Warrant Issued June 13, 2019, 942


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F.3d 159, 164, 174-75 (4th Cir. 2019); see, e.g., United States v. Gallego, 2018 WL 4257967, at
*3 (D. Ariz. Sept. 6, 2018) (ordering appointment of special master to review attorney’s files, in
part based on “Sixth Amendment concerns” regarding “privileged materials pertaining to unrelated
clients of [the defendant].”); United States v. Stewart, 2002 WL 1300059, at *10 (same). Mr.
Giuliani also is under a professional obligation to safeguard his clients ’and former clients ’
privilege to the maximum extent possible. See Republic Gear Co. v. Borg-Warner Corp., 381 F.2d
551, 556 (2d Cir. 1967) (noting that lawyer has duty to invoke claim of privilege on clients ’behalf);
N.Y. Rules of Prof’l Conduct R. 1.6(a) (presumptively prohibiting lawyer’s disclosure of
confidential and privileged information).

        In this case, federal prosecutors have taken the unprecedented step of covertly seizing data
and files of the personal attorney to the former President of the United States. Prior to the
executions of the warrants at issue, prosecutors obtained the entirety of Giuliani’s iCloud, which
certainly had communications with, and on behalf of, the sitting President, containing material
relating to the impending impeachment, the welfare of the country, and to national security. Given
the complexity of Mr. Giuliani’s personal and professional relationships and the related
communications, it is a near impossible task to accurately list all individuals with whom Mr.
Giuliani had a privileged relationship or communications. Indeed, Mr. Giuliani’s privileged
relationships and related obligations are complex, and ethical obligations prevent him from
disclosing them in full. Mr. Giuliani has communicated extensively regarding privileged matters
with innumerable clients and counsel for, about, and relating to current clients and/or entities that
he represents. For these reasons, the privileged nature of certain communications would have been
difficult or impossible for the 2019 “filter” team to ascertain, and will be similarly difficult for a
Special Master.

         Mr. Giuliani also remains under a professional ethical obligation not to disclose the identity
of any clients who requested their identities remain confidential, or, if those clients ’wishes are
unknown and his representation is not public knowledge, any disclosure that may be embarrassing
or detrimental to their interests. See N.Y. Rules of Prof'l Conduct R. 1.6(a); NY Eth. Op. 1088,
2016 WL 1533284 (Mar. 31, 2016); see also In re Search Warrant Issued June 13, 2019, 942 F.3d
159, 180 (4th Cir. 2019), as amended (Oct. 31, 2019) (noting professional obligation to avoid
disclosing confidential client identity, and approving that basis for law firm’s refusal to provide
client list to filter team).

        The only adequate safeguard in this situation is an initial review by Giuliani’s counsel.
Such review parallels the procedure that would have been in place had the related materials been
produced in response to a subpoena and is consistent with procedures the Department of Justice
has followed in other cases involving similar circumstances. Any other approach is fraught with
peril, particularly considering the covert manner in which the 2019 Search Warrant was handled,
and the pattern of leaks by sources “close to the investigation.” Lastly, Giuliani is entitled to the
production of Apple’s entire search warrant return production, as well as the material previously
deemed non-privileged and responsive and relevant to the 2019 Search Warrant by the “filter”
team.


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   C. Giuliani Has the Right to Know and Review the Material Seized Under the 2019
      Warrant that the Government’s Taint Team has not Deemed Privileged.

         In November of 2019, the Government covertly obtained a search warrant (19 MAG
10364) of Giuliani’s Apple iCloud Accounts assigned to certain telephone numbers and an email
iCloud account maintained at premises controlled by Apple Inc, allegedly containing evidence,
fruits, and instrumentalities of crime as specified in an attachment. That attachment required Apple
to produce subscriber and payment information, device information and settings, transactional
records, address book information, call history and voicemails, text message content, email
content, photos and videos, documents, search and web histories, third-party application data,
location date and iOS device backups.

        In essence, the Government was looking for evidence that Giuliani was acting as an agent,
unregistered agent or lobbyist of a Ukrainian national, government official, corporation or political
party or in violation of the foreign agent registration and lobbying laws or making contributions
on behalf of a foreign principal (see attachments to search warrant also citing 22 USC §§612 and
618, 18 USC §951, 18 USC §2, and 18 USC §371). Ironically, Giuliani and his counsel were ready,
willing and able to demonstrate that he never acted as a foreign agent and had no reason to file.
The government turned down every request to do so.

        Giuliani has the right to know and review the material seized under the 2019 Search
Warrant that the Government’s taint team deems not to be privileged, and relevant and responsive
to the search warrant Giuliani requires this information in order to determine whether a challenge
is necessary as to any of the items being declared to be not subject to the attorney client or
Presidential privilege.

        This request does not seek and does not involve the disclosure of any secret information.
The iCloud and the material and information therein are accessible to Giuliani despite the
Government’s search and seizure of the information contained therein. Giuliani’s request should
be granted as no secret information will be disclosed that Giuliani does not have the ability to
access. The Government cannot argue that their declaration of what information and material that
it deems not subject to any privilege will compromise their investigation or any potential
prosecution.

       To reiterate, Giuliani simply seeks a declaration and clarification by the Government of
what information and material that was viewed by the Government’s taint team is not subject to
any privilege. This information is necessary so that Giuliani is able to challenge, if need be, the
Government’s determination that a specific item is not privileged.

       The Government, in its letter of April 29, 2021 to the Court, requested that a Special Master
be appointed “to conduct the filter review of potentially privileged materials seized pursuant to the
above captioned [April 21, 2021, 21 Mag. 4335; April 28, 2021, 21 Mag. 4591] warrants.” The
Government’s recognition that a Special Master be appointed regarding a review of the materials


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seized pursuant to the 2021 search warrants, underscores the need for the Government’s disclosure
to Giuliani and his attorneys of the iCloud information and material seized pursuant to the 2019
search warrant which was deemed unilaterally by their taint or filter team not to be subject to the
attorney client or any other privilege.

        When the search of an attorney’s information is involved, especially an attorney who
represents the President of the United States, the appropriate practice, after ample opportunity is
given to challenge the legality of the search is to appoint a Special Master rather than utilize the
Government’s taint or filter team. Here, there was no opportunity to apply to the Court for an
alternate method to filter out privileged material relating to the 2019 search warrant. Thus, the only
fair and equitable remedy is to grant Giuliani’s request to have the Government declare and inform
him of what material they consider and deem to by unprotected by any privilege.

   D. Giuliani Reserves the Right to Make an Application Pursuant to Franks v.
      Delaware, After a Review of the Search Warrant Affidavits.

       Over forty years ago, the United States Supreme Court held that a search warrant can be
challenged based on false statements in the affidavit in support of the warrant or, in the alternative,
based on the improper omission of material facts. Franks v. Delaware, 483 US 154 (1978).

       In Franks, the court held that a warrant can be controverted, and evidence suppressed,
based on intentionally or recklessly made misstatements that are necessary to the finding of
probable cause. Similarly, an omission of a material fact can lead to the contravention of a warrant
where an omission occurred at least with reckless disregard of its effect upon the affidavit “as any
reasonable person would have known that this was the kind of thing the judge would wish to
know.” United States v. Jacobs, 986 F2d 1231 (8th Cir 1993).

       In the instant case, it is our position that the Government may have omitted material
information on its application for the search warrant issued on April 21, 2021. For example,
prosecutors from the Southern District likely knew that Giuliani, through his counsel, as detailed
above, offered his full cooperation to the Department of Justice as early as November 2019.

        It is our position that, in applying for the search warrant to seize Giuliani’s electronic
equipment in his office and home, prosecutors may not have informed the court of the above
information concerning Giuliani’s which, we believe, would have been material in an assessment
of probable cause.

        In the past, courts have found that material omissions can be fatal to an affidavit in support
of a search warrant. Thus, in Wilson v. Russo, 212 F3d 781 (3rd Cir 2000), omissions were made
with reckless disregard of a fact that any reasonable person would have known was the kind of
thing a judge would want to know.




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         In U.S. v. Gifford, 727 F3d 92 (1st Cir 2013) the court held that certain omitted facts were
critical to the probable cause determination. Similarly, in U.S. v. Jacobs, 986 F2d 1231 (8th Cir
1983), the court held that because of the highly relevant nature of the omitted information, the
omission occurred at least with reckless disregard of its effect upon the search warrant affidavit,
as any reasonable person would have known that this “was the kind of thing the judge would wish
to know.”

       Thus, once the information in the affidavits is disclosed to Giuliani, he reserves the right
to make a Franks application, in the event the prosecution omitted to include his extensive
cooperation as outlined above.

                                         CONCLUSION

       We believe the foregoing facts establish that , there are issues that must first be addressed
by the Court before considering the appointment of a Special Master. We respectfully ask the
Court to rule on this application before making its decision on the appointment of a Special
Master.

                                                      Respectfully submitted,

                                                      DAVIDOFF HUTCHER & CITRON LLP

                                                      /s/ Robert J. Costello
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